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UNITED STATES DISTRICT. COURT» s1¢¢
DISTRICT OF MASSACHUSETTS

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BARBARA CURLEY et al., )
)
Plaintiffs, )
)
) No. 00CV10956 GAO
)
NORTH AMERICAN MAN BOY )
LOVE ASSOCIATION et al., )
)
Defendants. )

MOTION OF DEFENDANT CHRISTOPHER FARRELL
TO DISMISS (SECOND) AMENDED COMPLAINT

Defendant Christopher Farrell hereby moves to dismiss the second Amended Complaint on the
following grounds:

1. The amendment of the complaint to add Christopher Farrell as a defendant was
improper in that he was not served with the motion to amend the complaint to add him as a
defendant ten days in advance of its filing as required by Local Rule 15.1(B) and the motion to
amend was not accompanied by a certificate showing that it had been served in advance on the
proposed new parties. .

2. Counts I (Wrongful Death), II (Conscious Suffering) and III (42 U.S.C. ' 1985(3)) are
barred by the statute of limitations;

3. The complaint fails to state a claim upon which relief can be granted;

4. This Court has previously ruled that the complaint fails to state claim under 42 U.S.C.

§1985(3), thus barring Count III under the law of the case doctrine;

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5. The court lacks subject matter jurisdiction;

6. The plaintiffs lack standing to bring this action, or, in the alternative, the plaintiffs=
claims are barred by the doctrine of judicial estoppel, because they filed for bankruptcy after the
original complaint was filed and failed to bring these claims to the attention of the bankruptcy
trustee who is the only party to have standing in these circumstances;

7. The complaint fails to set forth a short and plain statement of the claims;

8. This action against the defendant is barred as the plaintiffs have brought a previous
action against him in this court (Civil Action No. 01CV11643) asserting the identical claims
made in this action.

9. This court lacks personal jurisdiction over the defendant.

In support of this motion, the defendant relies on the affidavit of [insert your name] filed
herewith, [assuming you have done an affidavit], and the affidavits and memoranda of law

submitted by other defendants, expressly adopting the arguments in those memoranda.

Christopher Farrell

PO Box 2487

New York, NY 10185-2487
Defendant, Pro Se

CERTIFICATE OF SERVICE

I, Christopher Farrell, certify under the penalties of perjury that on this 4 day of June,
2002, I sent a copy of this motion by first class mail addressed to: Lawrence Frisoli, Frisoli & Frisoli, 797
Cambridge St., Cambridge, MA 02141, Patrick T. Gillen, 3475 Plymouth Road, Suite 100, Ann Arbor,
Michigan 48105, Robert Plotkin, 45 Butternut Circle, Concord, MA 01742, and John Reinstein, ACLU of
Mass., 99 Chauncy St., Suite 310, Boston, MA 02111.

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